Case 1:21-mj-04235-AOR Document 7 Entered on FLSD Docket 12/01/2021 Page 1 of 16


                                                                    BNDDUTY,CLOSED,INTERPRETER
                              U.S. District Court
                       Southern District of Florida (Miami)
              CRIMINAL DOCKET FOR CASE #: 1:21−mj−04235−AOR−1

   Case title: USA v. Salina                                     Date Filed: 11/16/2021

    Other court case number: 21−mj−111 Eastern District of       Date Terminated: 12/01/2021
                             Virginia

   Assigned to: Magistrate Judge Alicia M.
   Otazo−Reyes

   Defendant (1)
   Pedro Salina                                 represented by David Antonio Donet , Jr.
   02581−506                                                   Donet, McMillan & Trontz, PA
   YOB: 1988; Spanish                                          3250 Mary Street
   TERMINATED: 12/01/2021                                      Suite 406
                                                               Coconut Grove, FL 33133
                                                               305−444−0030
                                                               Fax: 305−444−0039
                                                               Email: donet@dmt−law.com
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Designation: CJA Appointment

   Pending Counts                                             Disposition
   None

   Highest Offense Level (Opening)
   None

   Terminated Counts                                          Disposition
   None

   Highest Offense Level (Terminated)
   None

   Complaints                                                 Disposition
   Warr/ED/VA/Complaint/Manufacture,
   Distribution, or Possession of more than 5
   kilograms of Cocaine on a Vessel



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Case 1:21-mj-04235-AOR Document 7 Entered on FLSD Docket 12/01/2021 Page 2 of 16




   Plaintiff
   USA                                           represented by Noticing AUSA CR TP/SR
                                                                Email: Usafls.transferprob@usdoj.gov
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED
                                                                Designation: Retained

    Date Filed   # Page Docket Text
    11/16/2021   1       Magistrate Removal of Complaint from Eastern District of Virginia Case number
                         in the other District 21−mj−111 as to Pedro Salina (1). (kss) (Entered:
                         11/17/2021)
    11/16/2021   2       Minute Order for proceedings held before Magistrate Judge Alicia M.
                         Otazo−Reyes: Initial Appearance as to Pedro Salina held on 11/16/2021. Bond
                         recommendation/set: Pedro Salina (1) TEMPORARY Pretrial Detention (NO
                         HEARING HELD). Date of Location Custody (Arrest or Surrender): 11/15/2021.
                         Detention Hearing set for 11/19/2021 10:00 AM in Miami Division before MIA
                         Duty Magistrate. Removal Hearing set for 11/19/2021 10:00 AM in Miami
                         Division before MIA Duty Magistrate. Spanish Interpreter present. Attorney
                         added: David Antonio Donet, Jr for Pedro Salina for REMOVAL/RULE 5 to
                         another District CJA representation. Date attorney was appointed CJA:
                         11/16/2021. (Digital 14:13:40; 16:25:36; 17:03:51)

                         It is ORDERED AND ADJUDGED that pursuant to the Due Process Protections
                         Act, the Court confirms the United States obligation to disclose to the defendant
                         all exculpatory evidence− that is, evidence that favors the defendant or casts
                         doubt on the United States case, as required by Brady v. Maryland, 373 U.S. 83
                         (1963) and its progeny, and ORDERS the United States to do so. The government
                         has a duty to disclose any evidence that goes to negating the defendants guilt, the
                         credibility of a witness, or that would reduce a potential sentence. The defendant
                         is entitled to this information without a request. Failure to disclose exculpatory
                         evidence in a timely manner may result in consequences, including, but not
                         limited to, exclusion of evidence, adverse jury instructions, dismissal of charges,
                         contempt proceedings, disciplinary action, or sanctions by the Court. Signed by
                         Magistrate Judge Alicia M. Otazo−Reyes on 11/16/2021. (fbn) (Entered:
                         11/19/2021)
    11/18/2021           Set/Reset Hearings as to Pedro Salina: Detention Hearing set for 11/19/2021
                         10:00 AM in Miami Division before MIA Duty Magistrate. Removal Hearing set
                         for 11/19/2021 10:00 AM in Miami Division before MIA Duty Magistrate. (sl)
                         (Entered: 11/18/2021)
    11/19/2021   3       Minute Order for proceedings held before Magistrate Judge Alicia M.
                         Otazo−Reyes: Status Conference Re: Pretrial Detention and Removal Hearings as
                         to Pedro Salina held on 11/19/2021. Government changed bond request. Bond
                         Set: STIPULATED $250,000 corporate surety with nebbia, with the right to
                         revisit. (Removal Hearing RESET for 12/1/2021 10:00 AM in Miami Division
                         before MIA Duty Magistrate). Spanish Interpreter present. (Digital 11:58:49)
                         Signed by Magistrate Judge Alicia M. Otazo−Reyes on 11/19/2021. (mdc)
                         (Entered: 11/22/2021)


                                                                                                               2
Case 1:21-mj-04235-AOR Document 7 Entered on FLSD Docket 12/01/2021 Page 3 of 16



    11/19/2021        Terminate Pretrial Detention Hearing as to Pedro Salina. Parties STIPULATED
                      to $250,000 corporate surety with nebbia. (mdc) (Entered: 11/22/2021)
    11/22/2021        Set/Reset Hearings as to Pedro Salina: Removal Hearing reset for 12/1/2021
                      10:00 AM in Miami Division before MIA Duty Magistrate. (sl) (Entered:
                      11/22/2021)
    12/01/2021   4    Minute Entry for proceedings held before Magistrate Judge Lisette M. Reid:
                      Status Conference re: removal as to Pedro Salina held on 12/1/2021. THE
                      DEFENDANT WAIVED REMOVAL AND WAS ORDERED REMOVED TO
                      THE EASTERN DISTRICT OF VIRGINIA. Spanish Interpreter present. (Digital
                      11:06:36) (cg1) (Entered: 12/01/2021)
    12/01/2021   5    WAIVER of Rule 5(c)(3)/Rule 40 Hearing by Pedro Salina (cg1) (Entered:
                      12/01/2021)
    12/01/2021   6    COMMITMENT TO ANOTHER DISTRICT as to Pedro Salina. Defendant
                      committed to the Eastern District of Virginia. Closing Case for Defendant. Signed
                      by Magistrate Judge Lisette M. Reid on 12/1/2021. See attached document for full
                      details. (cg1) (Entered: 12/01/2021)




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Case 1:21-mj-04235-AOR
          Case 1:21-mj-04235-AOR
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                                                             Page 1 of 5Page 4 of 16


  AO 91 (Rev 11/11) Criminal Complamt                                                                                     FILED
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                  Uuiled States ofAmerica                            )             UNDERSEAL
                              V.                                     )
                                                                     )             Case No. 4:21mj_lll_
                       PEDRO SALlNA                                  )
                                                                     )
                             Defendanl(s)                            )

                                                      CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

              On or about the date(s) ofNovernber 2, 2021 in the Eastern District of Virginia, the defendant{s) violated:

                    Code Section(s)                                              Offense Description(s)
           46 u.s.c. § 70503                Manufacture, Distribution, or Possession of more than 5 kilograms of Cocaine on a Vessel




         This criminal complaint is based on these facts: Please see attached Affidavit

         � Continued on the attached sheet.


        READ AND APPROVED:

                       Isl
        Eric M. Hurt,
        Assistant United States Attorney




                                                                                              Pnnted name and 111/e




S\\ om to before me and signed in my presence.


Date:             November 12, 2021


City and state:    orfolk, Virginia                                        Robe,t J. Krask, United States Magistrate Judge
                                                                                              Printed name and tlllt
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   MIME−Version:1.0
   From:cmecfautosender@flsd.uscourts.gov
   To:flsd_cmecf_notice
   Bcc:
   −−Case Participants: Noticing AUSA CR TP/SR (usafls.transferprob@usdoj.gov), Magistrate
   Judge Alicia M. Otazo−Reyes (otazo−reyes@flsd.uscourts.gov)
   −−Non Case Participants:
   −−No Notice Sent:

   Message−Id:21675316@flsd.uscourts.gov
   Subject:Activity in Case 1:21−mj−04235−AOR USA v. Salina Set/Reset          Hearings
   Content−Type: text/html

                                             U.S. District Court

                                         Southern District of Florida

   Notice of Electronic Filing


   The following transaction was entered on 11/18/2021 at 9:35 AM EST and filed on 11/18/2021

   Case Name:       USA v. Salina
   Case Number:     1:21−mj−04235−AOR
   Filer:
   Document Number: No document attached
   Docket Text:
   Set/Reset Hearings as to Pedro Salina: Detention Hearing set for 11/19/2021 10:00 AM in
   Miami Division before MIA Duty Magistrate. Removal Hearing set for 11/19/2021 10:00 AM in
   Miami Division before MIA Duty Magistrate. (sl)


   1:21−mj−04235−AOR−1 Notice has been electronically mailed to:

   Noticing AUSA CR TP/SR &nbsp &nbsp Usafls.transferprob@usdoj.gov

   1:21−mj−04235−AOR−1 Notice has not been delivered electronically to those listed below and will be
   provided by other means. For further assistance, please contact our Help Desk at 1−888−318−2260.:




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     Case 1:21-mj-04235-AOR
                Case 1:21-mj-04235-AOR
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                                                        M IN UTE O RDER                                                                                     .   Page 28

                                            M agistrate Judge Alicia M .Otazo-Reyes
                                   AtkinsBuildingCourthouse-10th Floor                                Date:11/16/2021 Time:2:00 p.m .
    Defendant: PEDRO SALINA '                                   J#:o2s81-so'
                                                                           6        case #: 21-M J-4235-OTAZO-REYES
    AUSA:                 :;
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    Vjolation:PoW3 rr/ED/vA/complaint/Manufacture,Disyribution,or surr/ArrestDate:11/15/2021
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Case 1:21-mj-04235-AOR Document 7 Entered on FLSD Docket 12/01/2021 Page 11 of 16


    MIME−Version:1.0
    From:cmecfautosender@flsd.uscourts.gov
    To:flsd_cmecf_notice
    Bcc:
    −−Case Participants: Noticing AUSA CR TP/SR (usafls.transferprob@usdoj.gov), David Antonio
    Donet, Jr (donet@dmt−law.com, paralegals@dmt−law.com), Magistrate Judge Alicia M.
    Otazo−Reyes (otazo−reyes@flsd.uscourts.gov)
    −−Non Case Participants:
    −−No Notice Sent:

    Message−Id:21685100@flsd.uscourts.gov
    Subject:Activity in Case 1:21−mj−04235−AOR USA v. Salina Set/Reset          Hearings
    Content−Type: text/html

                                              U.S. District Court

                                          Southern District of Florida

    Notice of Electronic Filing


    The following transaction was entered on 11/22/2021 at 9:40 AM EST and filed on 11/22/2021

    Case Name:       USA v. Salina
    Case Number:     1:21−mj−04235−AOR
    Filer:
    Document Number: No document attached
    Docket Text:
    Set/Reset Hearings as to Pedro Salina: Removal Hearing reset for 12/1/2021 10:00 AM in
    Miami Division before MIA Duty Magistrate. (sl)


    1:21−mj−04235−AOR−1 Notice has been electronically mailed to:

    Noticing AUSA CR TP/SR &nbsp &nbsp Usafls.transferprob@usdoj.gov

    David Antonio Donet , Jr &nbsp &nbsp donet@dmt−law.com, paralegals@dmt−law.com

    1:21−mj−04235−AOR−1 Notice has not been delivered electronically to those listed below and will be
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                                                                    M agistrate Judge Aliçia h,.ètazowReyes
                                                      XtkinsBuildinMCourthouse-.10th Floor                                                              Date:11/19/21                            Time:1Q:00a.m.
     Defendant'
              . Pndro Salina                                                      .               J#:02581-506 Case #:21-4235-OtazpZReyes                                                            .
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    AUSA: '- .,-I6%r .          <J,. .C S          Attorney'. David Donet,Jr.-CJA
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    MIME−Version:1.0
    From:cmecfautosender@flsd.uscourts.gov
    To:flsd_cmecf_notice
    Bcc:
    −−Case Participants: Noticing AUSA CR TP/SR (usafls.transferprob@usdoj.gov), David Antonio
    Donet, Jr (donet@dmt−law.com, paralegals@dmt−law.com), Magistrate Judge Alicia M.
    Otazo−Reyes (otazo−reyes@flsd.uscourts.gov)
    −−Non Case Participants:
    −−No Notice Sent:

    Message−Id:21686311@flsd.uscourts.gov
    Subject:Activity in Case 1:21−mj−04235−AOR USA v. Salina Terminate Deadlines and Hearings
    Content−Type: text/html

                                              U.S. District Court

                                          Southern District of Florida

    Notice of Electronic Filing


    The following transaction was entered on 11/22/2021 at 12:58 PM EST and filed on 11/19/2021

    Case Name:       USA v. Salina
    Case Number:     1:21−mj−04235−AOR
    Filer:
    Document Number: No document attached
    Docket Text:
     Terminate Pretrial Detention Hearing as to Pedro Salina. Parties STIPULATED to $250,000
    corporate surety with nebbia. (mdc)


    1:21−mj−04235−AOR−1 Notice has been electronically mailed to:

    Noticing AUSA CR TP/SR &nbsp &nbsp Usafls.transferprob@usdoj.gov

    David Antonio Donet , Jr &nbsp &nbsp donet@dmt−law.com, paralegals@dmt−law.com

    1:21−mj−04235−AOR−1 Notice has not been delivered electronically to those listed below and will be
    provided by other means. For further assistance, please contact our Help Desk at 1−888−318−2260.:




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     Case 1:21-mj-04235-AOR
                Case 1:21-mj-04235-AOR
                              Document 7 Document
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                                        CO U RT M IN UTES                                              Page11
                            M agistrate Judge Lisette M arie Reid
                   AtkinsBuildingCourthouse-3rdFloor                     Date:12/1/21         Time:10:00a.m.
Defendant:Pedro salina                    J#:02581-506 Case #:21-4235-OTAZO-REYES
AUsA:         Ale wialcn         e-
                                  a                  Attorney:DavidDonet,cJA
Violation: W arr/complt/ED-vA/M anufacture,DistributionorPossessionofCocaineonaVessel
Proceeding: Rem ovalHearing                                  CJA Appt:
Bond/PTD Held:C Yes C No         Recom mended Bond:
Bond Setat:$250,000 corporatesuretyw/nebbia-STIP    Co-signed by:
 Nr surrenderand/ordonotobtainpassports/traveldocs                  Language: Spanish

 r- ReporttoPTSasdirected/or        x'saweek/monthby                Disposition:
    phone:      x'saweek/monthinperson
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 C Refrainfrom excessiveuseofalcohol                                -                              .      -
 C   Participatein m entalhealth assessm ent& treatm ent
 r- M aintainorseekfull-timeemployment/education
 r-' No contactwithvictims/witnesses
 r- No firearm s
 U- Notto encum berproperty
 r- M aynotvisittransportation establishments
     HomeConfinement/ElectronicMonitoringand/or
     Curfew             pm to          am ,paid by
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     religious,em ploym ent
 r- Travelextendedto:                                                  '
 r- Other:                                                           from Speedy TrialClock
NEXT COURT APPEARANCE   oate:             Tim e:           Judge:                       Place:
ReportRE CounseI:
PTD/Bond Hearing:
Prelim/ArraignorRemoval:
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Case 1:21-mj-04235-AOR
           Case 1:21-mj-04235-AOR
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                                U NITED STA TES DISTR ICT C O UR T
                                SO UTH ERN DISTRICT OF FLORIDA
                                   Case N o: 21-4235-O TA ZO-REY ES

U nited StatesofA m erica
        Plaintiff,
     V.
                                              ChargingDistrict'sCaseNo. 4:21mj111
Pedro Salina,
       D efendant.


                  W A IVE R O F R U LE 5 & 5.1 R EM O VA LJID EN TITY H EA R IN G S

       Iunderstand that1have been charged in anotherdistrict,the E astern D istrictofV irginia.
       lhavebeen inform ed ofthechargesand ofm y rightsto:
       (1)    retaincounselorrequesttheassignmentofcounselifIam tmabletoretaincounsel;
       (2)    arlidentityhearingto detenninewhether1am thepersonnnmedinthecharges;
       (3)    productionofthewarrant,acertified copy ofthewarrant,orareliableelectroniccopy of
              either;
              a prelim inary hearing within 14 days ofmy firstappearance ifl am in custody and 21
              daysotherwise - unless1nm indicted - to determine whetherthere isprobable cause to
              believe thatan offense hasbeen com m itted;
       (5)    ahearingon anymotionbythegovernmentfordetention;
       (6)    requesttransferoftheproceedings to thisdistrictunderFed.R.Crim.P.20,to plead
                 guilty.

       lagreetowaivemyrightsto:(check thosethatapply)
          r-Q Anidentityhearingandproductionofthewarrant.
                 A prelim inary hearing.
                 A detention hearing in the Southern D istrictofFlorida.
                 A n identity hearing,production of the warrant,and any prelim inary or detention hearing
                 to which lm ay be entitled to in this district. 1requestthatthose hearingsbe held in the
                 prosecuting district,ata tim e setby thatcourt.
       1 consent to the issuance of an order requiring m y appearance in the prosecuting districtw here
the charges are pending againstm e.

                                                                     #
                                                               efendant's Signature
D ate: 12/1/21                                                                     *



                                                             Lisette M arie Reid
                                                             U nited States M agistrate Judge



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                                  U nited States D istrictC ourt
                                  Southern D istrictofFlorida
                                  Case N o.21-4235-OTA ZO -R EYES


UN ITED STA TES OF A M ERICA ,


                                             ChazgingDistrict'sCaseNo.4:2lmjl11

Pedro Salina,
(USM //02581-506)
                                     /

                             COM M ITM EN T TO A N O THER D ISTRICT

       Thedefendanthasbeen orderedto appearintheEastern DistrictofVirginia.

       Juan D e Jesus G onzalez,CJA w as appointed to represent D efendant for proceedings in this

D istrict.

       The defendantrem ainsin custody afterthe initialappearancein the Southern DistrictofFlorida.

       IT IS ORDERED thatthe United States m azshalm usttranspol'tthe defendant,togetherwith a

copy ofthisorder,to the charging districtand delivezthe defendantto theUnited Statesmarshalforthat

district,orto anotherofficerauthorized to receive thedefendant.Them arshalorofficerin the charging

districtshould im m ediately notify the U nited States attorney and the clerk of courtforthatdistrictofthe

defendant'sanivalso thatfurtherproceedingsm ay beprom ptly scheduled.Theclerk ofthisdistrictmust

promptly transm itthepapersand any bailto thecharging district.

       DONE AND ORDERED atM iam i,Floridaon 12/1/21.



                                                    Lisette M arie Reid
                                                    United States M agistrate Judge




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